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         JOINT STATUS
      REPORT PURSUANT
      TO BROWN DKT. NO.
       830 AND CALHOUN
          DKT NO. 930

       Redacted Version of
       Document Sought to
           Be Sealed
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13                                UNITED STATES DISTRICT COURT

14                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

15   CHASOM BROWN, et al., on behalf of
     themselves and all others similarly situated,
16
                    Plaintiffs,                       Case No. 4:20-cv-03664-YGR-SVK
17
            vs.                                       JOINT STATUS REPORT PURSUANT
18                                                    TO DKT. NO. 830
     GOOGLE LLC,
19                                                    Referral: Hon. Susan van Keulen, USMJ
                    Defendant.
20
     PATRICK CALHOUN, et al., on behalf of
21   themselves and all others similarly situated,

22                  Plaintiffs,                       Case No. 4:20-cv-05146-YGR-SVK

23          vs.                                       JOINT STATUS REPORT PURSUANT
                                                      TO DKT. NO. 960
24   GOOGLE LLC,
                                                      Referral: Hon. Susan van Keulen, USMJ
25                  Defendant.

26

27

28
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 1            The Brown Plaintiffs, Calhoun Plaintiffs, and Defendant Google LLC (together, the

 2 “Parties”), by and through undersigned counsel, respectfully submit this Joint Status Report in

 3 response to the January 17, 2023 Order in both Brown and Calhoun, instructing the Parties to “file

 4 a joint status report and proposed path forward on the issue of preservation of the relevant tables by

 5 January 31, 2023.” Brown Dkt. 830 at 2; Calhoun Dkt. 960 at 3 (emphasis in original).

 6     I.     GOOGLE’S STATEMENT

 7            A.     Status Report

 8            The Court ordered the Parties to “engage in a meet and confer for the purpose of Google

 9 demonstrating to Plaintiffs how the information in the tables that are the subject of the Motion is

10 contained in or may be derived from other information that Google is preserving.” Id. Prior to the

11 meet and confer, Google provided the following to Plaintiffs: (1) sampled data from all fields in

12 of the                  tables and sampled mapping entries from            Analytics tables; (2) relevant

13 source code and code comments; and (3) information regarding the tables, including the source

14 tables from which the                  tables derive identifier linkages. Trebicka Decl. Ex. 2 (1/26/23

15 Letter).

16            Google’s counsel then walked Plaintiffs through the sampled data, source code, and other

17 relevant information, provided explanations and demonstrations of how the mappings/linkages in

18 the tables can be found in or derived from other information that Google is separately preserving,

19 and responded to most of Plaintiffs’ questions. A video recording of the meet and confer is available

20 upon request. Thereafter, Google consulted with its engineers to provide answers to Plaintiffs’

21 remaining questions, and agreed to produce additional data. See id. Ex. 3 (1/28/23 Letter), Ex. 4

22 (1/30/23 Letter). Set forth below is a summary of the information Google provided to show Plaintiffs

23 that the linkages in the      tables can be found in or be derived from other information that Google

24 is separately preserving.

25                          Tables. Google produced sampled data to demonstrate that the

26 tables contain Biscotti ID linkages that are identified as possibly belonging to the same user/device.

27 See Calhoun Dkt. 942-5 (GOOG-CALH-00374314) at -353. The sampled data showed a

28 “               ” field containing information of the source tables from which the Biscotti linkages in
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 1                 are derived. Trebicka Decl. Ex. 2 (1/26/23 Letter) at 3, 4. Google also produced the

 2 source code used to define the “                 ” field as well as the corresponding comment, which

 3 indicate the Biscotti linkages are derived from          source mapping/linking tables, which Google is

 4 separately preserving. Id.; see also Calhoun Dkt. 942-5 (GOOG-CALH-00374314) at -354, -355.

 5 The

 6        . Brown Dkt. 781-9; Calhoun Dkt. 897-11 (Seah Decl.) ¶ 5; Calhoun Dkt. 742-7 (GOOG-

 7 CALH-00696086) at -090. Because the underlying mappings/linkings between Biscotti and other

 8 identifiers are all being separately preserved, custom pipelines could be built to recreate the Biscotti

 9 linkages contained in the                  tables. Trebicka Decl. Ex. 3 (1/28/23 Letter) at 1-2.

10          In any event, Plaintiffs’ focus on                    is misplaced when viewed in the context of

11 their claims and the Court’s admonition at the January 10 hearing that only tables “needed to work

12 with any of the data at issue” in Brown or Calhoun fall under the preservation orders. Id. Ex. 1

13 (1/10/23 Brown Hrg. Tr.) 8:4-6. The Biscotti linkages contained in the                          tables are

14 derived from ID mappings/linkings that involve either signed-in data (               -Biscotti linking and

15            -Biscotti linking) or App activity data (            mapping,              linking, and

16 linking)—but neither of these data flows is at issue in Brown. Id. Ex. 2 (1/26/23 Letter) at 4; id. Ex.

17 4 (1/30/23 Letter) at 2; Dkt. 395-2 (TAC) ¶ 192; Dkt. 83-18. No Biscotti ID received as part of the

18 data flow in Brown (signed-out private web browsing data) is linked in the                      tables. Id.

19          Similarly, in Calhoun, Biscotti linkages contained in the                     tables derived from

20 ID mappings/linkings involving App activities are not relevant to the data at issue (signed-in and

21 signed-out site web browsing activity data). And the linkages that are derived from ID

22 mappings/linkings involving signed-in data (which may be relevant) are not “needed to work with”

23 the data at issue. The data is keyed to identifiers that are stored with the data (either Biscottis or

24 GAIAs). Neither                    , nor any other linking table, is required to use those identifiers and

25 work with the keyed data.

26          Analytics Tables. Google’s arguments why the Analytics tables do not need to be preserved

27 are case-specific. In Brown, Google showed that identifier mappings in the Analytics tables are

28 duplicated in Analytics logs preserved under the preservation plan. Specifically, produced entries
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 1 from the Analytics tables show mappings between UID/CID to Biscotti or device ID. See Trebicka

 2 Decl. Ex. 2 (1/26/23 Letter) at 4-6. Because Google Analytics does not receive device IDs (AdID,

 3 IDFA) when users visit websites, the only mapping at issue is between UID/CID and Biscotti. Id.

 4 The Analytics data Google is preserving in Brown pursuant to the preservation plan is sampled from

 5 the following         logs:

 6 and                                                                       .     Dkt.    587-1.     Google

 7 demonstrated that for a given sampled entry in the         Analytics logs, any mapping of UID/CID to

 8 Biscotti (if it exists) will be self-contained within the sampled data because the mappings in the

 9 Analytics table are sourced from data stored in Google Analytics logs sources, including the

10 preserved logs. See Brown Dkt. 781-10; Calhoun Dkt. 897-12 (Pothana Decl.) ¶ 6.

11          In Calhoun, the preserved data sources relating to Google Analytics are Google account-

12 keyed (keyed to GAIA). The            Analytics mapping tables at issue in Google’s motion do not

13 include mappings to GAIA. Id. ¶ 5. Therefore, the Analytics Tables are not “needed to work with

14 any of the data at issue.” Trebicka Decl. Ex. 1 (1/10/23 Brown Hrg. Tr.) 8:4-6; see also id. 25:20-

15 23 (“To ensure that there’s not some – that they’re not creating a situation where data is being

16 preserved but ultimately can’t be read because these tables were not preserved.”).

17          B.      Google’s Response to Plaintiffs’ Statements

18          The Court instructed the parties that the meet and confer should be a “fairly simplified and

19 direct inquiry or demonstration” whereby Google shows Plaintiffs “this is the linking in the

20 tables at issue, and here’s where you find it in what is already being preserved,” id. 25:24-25, 31:22-

21 24, the Court will not “reopen discovery and have a full review of everything in these tables,” id.

22 23:9-10, and “[t]his is not an open it all up and have the Plaintiffs look around and see if there’s

23 anything that relates.” Id. Ex. 5 (1/10/23 Calhoun Hrg. Tr.) 22:6-8. Plaintiffs nevertheless insisted

24 on full review of everything in the tables.

25          Google answered all questions raised at the meet and confer and in the Brown Plaintiffs’

26 January 19 email falling within the scope of the Court’s January 17 Order. See id. Ex. 3 (1/28/23

27 Letter); id. Ex. 4 (1/30/23 Letter); id. Ex. 6 (1/23/23 Correspondence). As to the other questions,

28
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 1 including “how much data is added and deleted each day,” Plaintiffs have not explained how the

 2 answers to these questions are relevant. See id. Ex. 6 (1/23/23 Correspondence).

 3          The Brown Plaintiffs tout as a revelation that “           ” identifies a user and claim it only

 4 exists in the                tables. That is baseless. Google explained that             ” is just     of

 5 the Biscotti IDs grouped together in the                   tables as possibly belonging to the same user

 6 or device, and any linkage between the “               ” and other Biscotti IDs is derived from other

 7 mapping/linking tables Google is separately preserving. Id. Ex. 4 (1/30/23 Letter) at 1-2. After

 8                 groups/links multiple Biscotti IDs, it defines      of them as the “         .” Id. at 2.

 9          The Calhoun Plaintiffs argue that they need the mappings between CID to Device ID for

10 potential class members who only have their device IDs. But device IDs are only received from App

11 events; Google Analytics does not receive device IDs when users visit Google Analytics customer

12 websites. Brown Dkt. 781-10; Calhoun Dkt. 897-12 (Pothana Decl.) ¶ 5. Plaintiffs therefore would

13 not need any CID to Device ID mapping “to work with any of the data at issue.” Trebicka Decl. Ex.

14 1 (1/10/23 Brown Hrg. Tr.) 8:4-6.

15          C.      Proposed Path Forward

16          Google has demonstrated that the                      and Analytics mapping/linking tables are

17 not “needed to work with any of the data at issue.” Id. Additional meet and confers are not likely to

18 further their intended purpose. To the contrary, the Brown Plaintiffs state they intend to use

19 information they learned in the meet and confers for an improper purpose: to further their separate

20 sanctions motion. The Calhoun Plaintiffs likewise seek information related to “what is in the table,”

21 which the Court specifically stated is not a proper inquiry. Id. 26:6-7 (“So it’s a nonstarter to say

22 that we need to know what all of that data is.”). Accordingly, the Court can rule on Google’s motion

23 for relief.

24   II.    BROWN PLAINTIFFS’ STATEMENT

25          The Brown Plaintiffs and Google have made some progress over the last three weeks, but

26 many questions remain unanswered. What is clear from the parties’ January 27, 2023 meet and

27 confer is that the information contained in the      matching and linking tables (the “Data Sources”)

28 is not entirely duplicative and Google has again failed to disclose and preserve highly relevant
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 1 information. Indeed, while Google has tried to evade further discovery of the Data Sources, which

 2 Plaintiffs outline below, Google has confirmed that the Data Sources contain unique “               ”

 3 that identify users—not devices—based on a method that Google had not previously disclosed.

 4 Google overrepresents the “source code” and “samples” referenced in their letter, which are small

 5 snippets, not complete examples. For the reasons set forth below, the Court should order Google to

 6 make its engineers available in meet and confers to fully answer the questions ordered by this Court.

 7          At the January 10, 2023 hearing, the Court determined that the Data Sources appeared to fall

 8 under the prior preservation orders. See 1/10/23 Hrg. Tr. at 7:17–22. While the Court focused on the

 9 cost and proportionality of preservation, the Court recognized that “there’s not a lot of evidence”

10 and “Plaintiffs haven’t had an opportunity to explore” the Data Sources Google seeks to delete. Id.

11 at 10:15–15. Recognizing that lack of evidence, the Court ordered the parties to meet and confer

12 with their respective engineers and experts so that Plaintiffs could confirm Google’s representation

13 that “the     mapping tables that we have identified, all of the mapping or linking that is relevant

14 per Your Honor’s Order is already duplicated elsewhere in the data” and “[e]verything that Your

15 Honor held is relevant as far as the mapping or linking is already being preserved.” Id. at 12:4–13.

16          On January 19, 2023, after working with their consultants, the Brown Plaintiffs provided a

17 list of topics and issues they wished to address during the meet and confer. This included: the type

18 of information contained in the data sources (e.g., identifiers, proto, schema, what the data sources

19 are keyed to); storage-related questions (e.g., whether the data is sampled and, if so, at what rate,

20 the size of each data source, daily net gain/loss, retention periods); how the data sources fit into

21 Google’s structure (e.g., the upstream and downstream sources for each data source; the products,

22 services, and algorithms that use these data sources); whether the data is US-based or worldwide;

23 and whether Google would provide samples of the data contained in the data sources. The Brown

24 Plaintiffs requested Google’s availability so that their consultants and Google’s engineers could

25 meet and confer to discuss these matters and move toward any compromise the Court envisioned.

26          After follow-up, Google responded on January 23, 2023 and provided the names of the data

27 sources, confirmed that          identifier was stored in the                  tables, but otherwise

28 unilaterally determined that remaining questions the Brown Plaintiffs posed were irrelevant, a tactic
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 1 it has repeated throughout this litigation. Instead of arguing over Google’s continued refusal to

 2 provide basic information about the Data Sources, Plaintiffs nevertheless confirmed their

 3 consultants would be available for a meet and confer with Google’s engineers on January 27, 2023.

 4             Fewer than 15 hours before that scheduled meet and confer, Google sent a seven-page,

 5 highly technical document purportedly demonstrating how the Data Sources were duplicative. The

 6 Brown Plaintiffs objected to this belated disclosure, but said they would still attend the meet and

 7 confer with their consultants to achieve any practical progress. Notably, Google sent its lawyers—

 8 but no engineers—to attempt to answer the highly technical questions. At the Brown Plaintiffs’

 9 request, the meet and confer was recorded. The Brown Plaintiffs have no objection to submitting

10 that video for the Court’s and Special Master’s review. The Brown Plaintiffs’ consultants are still

11 reviewing the substance of this letter and will provide Google with additional questions this week.

12             While Google’s lawyers could not answer most of the consultants’ questions, the few

13 questions they could answer were telling. For the                              tables, Google produced data

14 from           (the contents of the others are unknown), which confirmed what Plaintiffs have long

15 suspected: Biscotti identifiers from different devices, browsers, and browsing sessions are

16 connected via a single, unified “               ” that identifies a user—not a device. Those Biscottis are

17 also associated with other identifiers, such as Device IDs, PPIDs, and others. However, these

18          and the overall linkages between the linked Biscottis have not been preserved at all, and they

19 only exist in the                          tables, not in the preserved logs and tables. Google has not

20 explained how different IDs belonging to a single user are linked under a                        (and could

21 not provide sufficient details as of this filing1). The data for these                       tables is drawn

22 from myriad sources at Google, including:                 ,          , and what Google believes (but could

23
     1
         In its January 28, 2023 correspondence, Google provided a hypothetical example of using a “custom
24 pipeline” to create a linkage between two Biscotti IDs using a common AdID. This hypothetical does not
   nearly capture the various IDs (which may include              IDs derived from GAIA IDs,           IDs, and
25
   others) that may reside within and outside of any data sources nor how those IDs are linked under a
26    within the                 tables. Google provided neither sample entries from any of the upstream
   linking tables nor any code or “custom pipeline” that demonstrate that the linkages within the
27 tables can be efficiently recreated. On January 31 (2:48a ET) Google provided a letter addressing
       and IDs contained in Analytics tables that the Brown Plaintiffs’ consultants are still reviewing.
28 Notably, the letter does not answer whether                 tables contain private browsing detection bits.
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 1 not confirm) to be deprecated sources that were keyed to PPID,                , third party IDs, and

 2 IDs. Similarly, for the      Analytics tables Google confirmed that Biscottis are associated with UID

 3 and CID, but also contain linkages to Device ID (e.g., ADID) and other identifiers.

 4          The Brown Plaintiffs are hopeful that Google will meaningfully participate further, but many

 5 of the Brown Plaintiffs’ questions remain unanswered: what is unique to the Data Sources and not

 6 contained in the other data sources that Google has represented are being preserved; what other

 7 identifiers are in the Data Sources (e.g., IDFA, GAIA, Zwieback,              , and others); whether the

 8 Data Sources contain any private browsing bits or heuristics (disclosed or not); if and when other

 9 data sources keyed to other identifiers (e.g., PPID,              , third party IDs, and       IDs) were

10 deprecated; whether Google is preserving the algorithm that establishes the linkages between IDs;

11 whether the Data Sources were written during the entire class period; whether the Biscottis

12 contained in the                   tables are the same (or linked) to the Biscottis contained in the

13 Analytics tables; the difference (if any) between the Doubleclick User ID and the UID in the

14 Analytics tables; and whether Analytics tables combine identifiers (e.g. CIDs, UIDs, device IDs).

15          The simplest way to address many of these questions is for Google to provide a sample of

16 the data from each of the Data Sources. Google has refused—the “sample” that Google referenced

17 is a portion of an entry, and did not contain all columns and fields. Plaintiffs should not be compelled

18 to pay the cost of storage without knowing what is being stored. Google also should not be permitted

19 to delete this data without consequence (e.g., waiving defenses to individual actions brought).

20          Plaintiffs at a minimum respectfully request that the Court order the parties to bring their

21 engineers and consultants to another meet and confer to cover the pending questions from the Brown

22 Plaintiffs. If the Court is not inclined to entertain this dispute further, the Brown Plaintiffs will rely

23 on the information gathered through this process to further support their pending sanctions request.

24 III.     CALHOUN PLAINTIFFS’ STATEMENT

25          A.      Calhoun Plaintiffs’ Status Update:

26          On January 19, 2023, the Calhoun Plaintiffs wrote to Google counsel and asked for the

27 following information in preparation for the parties’ joint meet and confer ordered by the Court:

28                  1. Transcript of Brown portion of the sealed Jan. 10, 2023 hearing;
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 1                  2. Full unredacted versions of certain sealed documents from the Brown docket; and

 2                  3. All documents or other information provided to Brown counsel, or the Court, or

 3                      the Special Master, regarding the mapping tables or regarding the identi[t]y of

 4                      (and preservation periods for) any data source being preserved in Brown. This

 5                      would include transcripts of any Brown-only conference with the Special Master

 6                      related to the same.

 7 Google counsel provided the first two categories of documents on January 20, 2023, but refused to

 8 provide the rest.

 9          On Friday, January 27, 2023, the Parties held a joint Zoom meet-and-confer. The night

10 before, Google transmitted a letter providing additional information about the mapping tables at

11 issue. Both the Brown Plaintiffs and the Calhoun Plaintiffs brought their experts to the call, but

12 Google elected only to have two attorneys present (no experts, no engineers) and counsel were

13 unable to answer many questions posed by the Plaintiffs and their experts. The Zoom call was

14 recorded with the consent of all parties, and the Plaintiffs had it transcribed. A copy of the transcript

15 can be provided to the Court upon request.

16          During the call, Plaintiffs asked multiple substantive questions about the mapping tables, 19

17 of which Google counsel said they could not answer and would need to get back to the parties. In

18 correspondence sent Saturday, January 28, 2023, Google provided answers to three of these 19

19 questions, and provided additional details about the mapping tables. Google also provided an

20 additional letter last night, January 30, 2023 with some additional information. But many questions

21 remain unanswered.

22          In consultation with their expert, the Calhoun Plaintiffs are now digesting Google’s letters

23 of January 27, 28 and 30, and will have additional questions within the next few days.

24          B.      Calhoun Plaintiffs’ Proposal for Next Steps:

25          It is clear from the parties’ efforts over the past few weeks that it may be possible to reduce

26 the burdens associated with preserving duplicate data in the mapping tables. However, it is equally

27 clear that the parties must undertake additional efforts to understand ways to eliminate burdens

28 associated with derived data. In addition, there appears to be impasse with respect to whether
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 1 Google will disclose the categories of information contained in the mapping tables beyond just what

 2 Google deems to be the relevant categories of identifiers. If the Calhoun Plaintiffs are to agree to

 3 Google’s deletion of a mapping table, we must first know what is in the table.

 4          For example, during the January 27, 2023 Zoom conference, as Google counsel gave

 5 additional explanations for the content of the January 26, 2023 letter, it was clear that at least one

 6 table maps device IDs to Biscotti IDs. Plaintiffs asked “so, if this table were deleted, are you – is

 7 there another source where you’re still able to map device ID to Biscotti and CID, or is this the only

 8 source that has this mapping?” Jan. 27, 2023 Zoom Conf. Tr. 35:7-11. Google counsel did not know

 9 the answer, and took the position that it wasn’t even relevant. Zoom Tr. 35:12-25. But of course if

10 a potential class member only has her device ID, and Google is only preserving data keyed to

11 Biscotti IDs, or CIDs, or GAIAs, or Zwieback IDs, it is essential that Google not discard the only

12 preserved source of device IDs mapped to these other IDs.

13          The Calhoun Plaintiffs therefore propose to proceed along the following schedule:

14          A. The Plaintiffs to provide a list of questions to Google no later than Monday, February 6,

15             2023.

16          B. The parties to meet and confer via Zoom (including all necessary experts and engineers)

17             no later than one week later, unless Google represents that it needs more time to gather

18             responses.

19          C. The parties to provide a second joint status update promptly thereafter identifying any

20             remaining areas of impasse and/or a proposal for modifying the Preservation Orders if

21             agreement can be reached.

22

23
     DATED: January 31, 2023
24

25
                                                       Respectfully submitted,
26

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 1                               ATTESTATION OF CONCURRENCE

 2          I am the ECF user whose ID and password are being used to file this Joint Submission.
 3
     Pursuant to Civil L.R. 5-1(h)(3), I hereby attest that each of the signatories identified above has
 4
     concurred in the filing of this document.
 5

 6
     Dated: January 31, 2023                     By          /s/ Andrew H. Schapiro
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